AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                               for the
                                                   Middle District of Tennessee

                 United States of America
                               V.

                       Wesley Somers
                                                                         Case No.      — 12.:        /VU ®—     4 © 71

                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    May 30, 2020               in the county of               Davidson          in the
        Middle        District of            Tennessee        , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 844(i)                             Malicious Destruction of Property Using Fire and Explosives




          This criminal complaint is based on these facts:




          5f Continued on the attached sheet.



                                                                                             Complainant's signatum

                                                                                  Christopher Potts, Special Agent, FBI
                                                                                              Ninted name and title

Sworn to before me and signed in my presence.


Date:            06/03/2020
                                                                                                Judge's signatin-e

City and state: ~21                                                                          Alistair E. Newbern
                                         )                                                   Ninted name and title




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                STATEMENT IN SUPPORT OF CRIMINAL COMPLAINT

I, Christopher R. Potts, having been duly sworn, hereby depose and swear to the following:
       1.      I, Christopher R. Potts, am a Special Agent with the Federal Bureau of
Investigation ("FBI"), and have been so employed since 2009. I am currently assigned to the
Memphis Division, Nashville Resident Agency, and am assigned to the Joint Terrorism Task
Force.

       2.      As an FBI agent, I have attended training at the FBI Academy, located in
Quantico, Virginia. I have been trained in conducting a variety of investigations, including
counterterrorism investigations designed to detect, penetrate, disrupt, and dismantle threats posed
by domestic and international terrorists to the national security of the United States homeland
and interests abroad. I have received formal and informal training regarding violations of
Federal laws related to domestic and international terrorism, as well as other violations of
Federal law, including gang, racketeering, and violence-related offenses. Prior to my
employment with the FBI, I was a servicemember with the United States Air Force for eight (8)
years.

        3.      The facts contained in this statement are based on personal knowledge or
information learned during this investigation from law enforcement sources or from witnesses.
This statement does not contain each and every detail known by your affiant regarding this
investigation. Instead, this statement provides information necessary to establish probable cause
to arrest the defendant, Wesley SOMERS, for a violation of Title 18, United States Code,
Section 844(i). Except where indicated, all statements referenced herein are set forth in substance
and in part, rather than verbatim.

       4.      On the afternoon of May 30, 2020, protesters gathered in downtown Nashville
following the death of George Floyd in Minneapolis, Minnesota. After approximately two hours
of demonstrations, protest participants began marching through various locations in downtown
Nashville, passing by the Central Precinct for the Metropolitan Nashville Police Department
("MNPD"), the Nashville Convention Center, and Lower Broadway.

         5.     In the evening on May 30, 2020, a number of persons gathered in front of
Nashville City Hall, also known as the Metro Courthouse or the historic courthouse, which is
located at 1 Public Square, Nashville, Tennessee 37201, in the Middle District of Tennessee. At
that time, persons using various tools, including crowbars and other objects, began smashing the
windows of City Hall and spraying graffiti on the City Hall facade. One or more fires were also
set inside City Hall at this time.

        6.      Numerous video clips and photographs of the destruction at City Hall were posted
on social media websites, on the websites for news outlets, and on other Internet sites. SOMERS
is depicted in video clips and photographs from that evening, shirtless and wearing beige cargo
shorts. In those clips and photographs, SOMERS—whose distinctive chest tattoos portraying the
words "WILD CHILD" and "HARD 2 Love," among others, are occasionally visible—is
depicted attempting to smash windows of City Hall with a long object.




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        7.     One photograph, in particular, depicted SOMERS holding an unknown accelerant,
which had been set on fire, and placing the accelerant through the window of City Hall. That
photograph, which was disseminated via social media, is attached to this statement as Exhibit A.
SOMERS is also depicted in a video clip, which your affiant has reviewed, setting fire to an
accelerant and placing it inside a window located on the exterior structure of City Hall.

        8.      SOMERS was later identified by the Metro Nashville Police Department
("MNPD"), Specialized Investigation Division, via numerous citizen tips. These tips were
verified via examination of booking photographs taken during SOMERS's previous arrests.

        9.     MNPD officers arrested SOMERS in connection with the conduct described
above at a residence in Madison, Tennessee, on May 31, 2020. MNPD officers later obtained
SOMERS's consent to photograph his tattoos. Among SOMERS's tattoos were the distinctive
tattoos described above.

        10. City Hall houses the Office of the Mayor of Nashville, along with many state and
local governmental offices.

        11. City Hall partners with the Nashville Convention & Visitors Corp. ("NCVC").
According to the NCVC website, to persons familiar with the operations of the NCVC, and to
other sources, the purpose of the NCVC is to maximize the economic contribution of the
convention and tourism industry in Nashville by developing and marketing Nashville as a
premier tourist destination. The NCVC does so by, among other things, participating in
tradeshows, conducting site visits, and organizing "Roadshows," at which the NCVC coordinates
appointments and events for its members to interact with clients in the market. The NCVC has
sales staff in Nashville, Chicago, Atlanta, Washington, D.C., Philadelphia, Los Angeles, Denver,
and Dallas. Members of the NCVC routinely meet with Mayor's Office personnel at City Hall,
for the purpose of conducting NCVC activities and furthering the NCVC's mission, as described
above. The NCVC's activities, for example, include leading the bid process (in partnership with
the Tennessee Titans) for the National Football League's Draft, which was held in Nashville in
April 2019. The Draft drew approximately 600,000 tourists to Nashville, including tourists from
around the country, and resulted in approximately $133 million in direct spending in Nashville.

        12. City Hall also houses the Office of Economic Opportunity, which the Mayor's
Office oversees, and whose functions are described on the City Hall website. The Office of
Economic Opportunity runs various programs and initiatives designed to encourage economic
and community development in Nashville. Those programs and initiatives include helping small
business owners and entrepreneurs to start and build successful businesses; connecting job-
seekers with potential employers in Nashville; and providing financial counseling, including
through a partnership with the United Way of Greater Nashville. Those programs and initiatives
also include promoting music and entertainment in Nashville through the Music City Music
Council, which is an association of business leaders charged with developing strategies toward
heightening the awareness and development of Nashville's worldwide reputation as "Music
City." The Music City Music Council focuses on, among other things, helping entertainment-
related businesses, conferences, and award shows expand or relocate to Nashville.

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       13. City Hall also houses managerial offices responsible for the City of Nashville's
Finance Department. The Finance Department includes a Division of Grants and Accountability.
One of the Division's roles is to conduct fiscal and programmatic monitoring of federal and state
grants administered by various Metropolitan Nashville and Davidson County government
agencies to ensure compliance with federal, state, and local laws, regulations, stated outcomes
and results, and specific requirements of the grants programs.

        14. Such governmental offices also include the Office of Transportation,
Infrastructure, and Sustainability. According to the City of Nashville website, this office is, in
part, responsible for climate change and sustainability initiatives for the City of Nashville, to
include Nashville's role in the C40 Cities Climate Leadership Group ("Group"). The Group is a
coalition of 94 leading cities around the world focused on tackling climate change and driving
urban action that reduces greenhouse gas emissions.

       15. City Hall, which houses these offices and entities (among others), is thus real
property used in interstate and foreign commerce and in any activity affecting interstate and
foreign commerce.

       16. Based upon the foregoing, your affiant submits that there is probable cause to
believe that the defendant, Wesley SOMERS, maliciously damaged or destroyed, or attempted to
damage or destroy, by means of fire or an explosive, any building, vehicle, or other real or
personal property used in interstate or foreign commerce or in any activity affecting interstate or
foreign commerce, in violation of Title 18, United States Code, Section 844(i).




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